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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )         4:03CR3034-2
                                                 )
                      Plaintiff,                 )
                                                 )
       vs.                                       )         MEMORANDUM
                                                 )         AND ORDER
JASON CHARLES YEAGER,                            )
                                                 )
                      Defendant.                 )

       I have consulted with counsel for the United States, counsel for Jason Charles Yaeger
and United States Probation Officer Craig Ford regarding Mr. Yaeger’s request that he be
allowed to visit with his dying child. Counsel for the parties and the Probation Officer all
agree that he should be allowed to visit his dying child. The undersigned agrees as well.
Therefore,

       IT IS ORDERED that:

         (1)    The Bureau of Prisons is strongly encouraged to allow Jason Charles Yaeger
to visit his dying child Jayci Yaeger who is presently located either at the Children’s Hospital
in Omaha, Nebraska, or at her home in Lincoln, Nebraska, where she will be receiving
hospice care. In other words, the court strongly encourages the Bureau of Prisons to allow
Mr. Yaeger with as many “escorted trips” or “escorted day trips” to visit Jayci Yaeger as is
appropriate.

        (2)    Craig Ford, the United States Probation Officer assigned to this case, shall
provide the Bureau of Prisons with a copy of this order and he shall do whatever he can do
to assist the Bureau of Prisons in seeing to it that Mr. Yaeger is able to visit with his child
before her death.

       October 5, 2007.                       BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
